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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

                                                  )
 League of United Latin American Citizens –       )
 Richmond Region Council 4614 et al.,             )
                                                  )
                Plaintiffs,                       )
                                                  )
        v.                                        ) Civil Action No. 1:18-cv-00423-LO-IDD
                                                  )
 PUBLIC INTEREST LEGAL                            )
 FOUNDATION, an Indiana Corporation,              )
 and J. CHRISTIAN ADAMS,                          )
                                                  )
                Defendants.                       )
                                                  )


     DECLARATION OF GENEVIEVE NADEAU IN SUPPORT OF PLAINTIFFS’
       MOTION TO RE-OPEN THE DEPOSITION OF DEFENDANT ADAMS

I, Genevieve Nadeau, state and declare as follows:

       1.      I am counsel for Plaintiffs in this case through The Protect Democracy Project

and make this declaration in support of Plaintiffs’ motion to re-open the deposition of Defendant

J. Christian Adams.

       2.      On December 10, 2018, Plaintiffs issued First Requests for Production of

Documents to Defendants PILF and Adams pursuant to Rule 34. Attached hereto as Exhibits A

and B, respectively, are true and correct copies of those requests.

       3.      Despite repeated efforts by Plaintiffs, Defendant Adams finally produced a total

of only 62 documents on February 12th, forcing Plaintiffs to file a motion to compel on February

15th. After the Court granted the motion, Defendant Adams produced 561 additional documents

(and Defendants later collectively produced many more documents).
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       4.      Plaintiffs issued an initial subpoena for documents, and then another subpoena for

documents and testimony to the co-author of the Alien Invasion reports, the Virginia Voters

Alliance, on December 6, 2018, and February 14, 2019, respectively. Attached hereto as

Exhibits C and D are a true and correct copies of those subpoenas.

       5.      After missing the initial deadline for production set forth in the first subpoena,

VVA produced documents on February 8th, followed by subsequent additional productions on

March 11th, March 29th, and April 2nd. Reagan George appeared for deposition on behalf of

VVA on March 15, 2019. Attached hereto as Exhibits E through H are true and correct copies of

documents (bates stamped VVA-004178, 004157, 004154-56, and 004148) that VVA produced

prior to the deposition that indicate that Defendant Adams assisted and/or coordinated with VVA

in its response to Plaintiffs’ subpoena.

       6.      On May 3, 2019, and without any prior notice, VVA produced a privilege log

indicating that it previously withheld 439 documents as supposedly privileged. After the parties

met and conferred, VVA withdrew its claim of privilege and produced the documents on May 9,

2019. Attached hereto as Exhibits I through K are true and correct copies of additional

documents (bates stamped VVA-004202-4204, PILF-ADAMS00049650-52, and VVA-004376)

that VVA produced on May 9th (along with an origin redacted version of one of the documents

that Defendants earlier produced).

       7.      In their Rule 26 initial disclosures, Defendants identified PILF board member

Hans von Spakovsky as an individual likely to have discoverable information that Defendants

might use to support their claims in this litigation. In addition, it is clear from his deposition

testimony and the fact that his name appears a number of times on Defendants’ privilege log that

Mr. von Spakovsky has been actively involved in PILF’s work.



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        8.      On January 31, 2019, Plaintiffs issued a subpoena for documents to Mr. von

Spakovsky. Attached hereto as Exhibit L is a true and correct copy of the subpoena.

        9.      Mr. von Spakovsky produced documents on March 1st and 22nd, and then finally

appeared for deposition on May 9, 2019, after rescheduling multiple times at the last-minute

request of his counsel (as evidenced by multiple amended deposition notices issued on March 28,

April 12, and April 29). During the deposition, Plaintiffs learned for the first time that Mr. von

Spakovsky had withheld all communications with Defendants Adams and others at PILF in

response to his subpoena and that he failed to take any steps to preserve potentially relevant

communications after the complaint in this case was filed. Attached hereto as Exhibit M are true

and correct copies of relevant excerpts of the “rough” transcript of Mr. von Spakovsky’s

deposition (the final transcript is not yet available).

        10.     On March 29, 2019, Defendants issued a subpoena for documents and testimony

to one-time PILF volunteer Steven Albertson. Attached hereto as Exhibit N is a true and correct

copy of that subpoena.

        11.     Mr. Albertson produced documents just after 4:30 p.m. on May 10, 2019. He

then appeared for deposition on May 14, 2019. Attached hereto as Exhibit O are true and correct

copies of relevant excerpts of the transcript of Mr. Albertson’s deposition with personally

identifying information redacted.

        12.     Attached hereto at Exhibits P through S are true and correct copies of

communications with Defendant Adams that Mr. Albertson produced in response to his

subpoena (bates stamped SA-001-000529-532, 000526-528, 001071-1076, and 001501, and with

personally identifying information redacted)—documents that Defendant Adams had not

previously produced.



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        13.    After Defendant Adams’s deposition, Plaintiffs subpoenaed and received

documents from third-party fundraising organizations used by PILF and identified by Defendant

Adams in his deposition, including ForthRight Strategies and A.C. Fitzgerald. These

documents reveal that tens of thousands of dollars of donations were made to PILF in response

to direct-mail solicitations that expressly reference PILF’s claims about noncitizen voting in

Virginia and/or the instant lawsuit. After receiving these third-party documents, Plaintiffs

followed up on previous requests for documentary evidence from PILF regarding its fundraising

efforts, only to be told in response that PILF does not HAVE any such information. When

Plaintiffs sought clarification attempting to reconcile the documentary evidence of responsive

donations to PILF with PILF's assertion that it does not have any information concerning funds

raised in reference to the Alien Invasion reports or this lawsuit, Defendants simply insisted that

no such data are in its possession, ultimately furnishing a bare-bones affidavit to that effect from

PILF employee Shawna Powell. Attached hereto as Exhibit T is a true and correct copy of that

affidavit.

        14.    Attached hereto as Exhibits U and V, respectively, are true and correct copies of

the transcript of the deposition of Defendant Adams as PILF’s corporate designee (on April 18,

2019) and as an individual (on April 22, 2019).

        15.    On May 15, 2019, I wrote to Michael Lockerby, counsel for Defendants, to ask

that Defendants agree to allow Plaintiffs to re-open the deposition of Defendants Adams. A true

and correct copy of that letter is attached hereto as Exhibit W.

        16.    The parties then spoke by phone on May 16, 2019. During that call, Mr.

Lockerby made clear that Defendant Adams will not voluntarily agree to allow Plaintiffs to re-

open his deposition for any length of time.



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       I declare under penalty of perjury that the foregoing is true and correct. Executed on

May 17, 2019, at Boston, Massachusetts.



                                             ____________________________________
                                             Genevieve Nadeau




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                                  CERTIFICATE OF SERVICE

       I, Christopher S. Herlihy, hereby certify that on May 17, 2019, I electronically filed the

foregoing Declaration of Genevieve Nadeau In Support of Plaintiffs’ Motion to Re-Open the

Deposition of Defendant Adams using the CM/ECF system, which shall send notification of such

filing (NEF) to the following counsel of record:

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                                                              /s/
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